        Case 4:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 1 of 10




 1   Katrina Eiland (SBN 275701)                        Lee Gelernt*
     Cody Wofsy (SBN 294179)                            Omar C. Jadwat*
 2   Spencer Amdur (SBN 320069)                         Anand Balakrishnan*
     Julie Veroff (SBN 310161)                          ACLU FOUNDATION
 3
     ACLU FOUNDATION                                    IMMIGRANTS’ RIGHTS PROJECT
 4   IMMIGRANTS’ RIGHTS PROJECT                         125 Broad Street, 18th Floor
     39 Drumm Street                                    New York, NY 10004
 5   San Francisco, CA 94111                            T: (212) 549-2660
     T: (415) 343-0770                                  F: (212) 549-2654
 6   F: (415) 395-0950                                  lgelernt@aclu.org
     keiland@aclu.org                                   ojadwat@aclu.org
 7
     cwofsy@aclu.org                                    abalakrishnan@aclu.org
 8   samdur@aclu.org
     jveroff@aclu.org                                   Attorneys for Plaintiffs
 9                                                      (Additional counsel listed on following page)
10                                  UNITED STATES DISTRICT COURT
11                                NORTHERN DISTRICT OF CALIFORNIA

12   East Bay Sanctuary Covenant; Al Otro Lado;
     Innovation Law Lab; and Central American                Case No.: 3:19-cv-04073-JST
13   Resource Center in Los Angeles,
14                  Plaintiffs,
15
                    v.                                       MEMORANDUM IN SUPPORT OF
16                                                           PLAINTIFFS’ EMERGENCY
     William Barr, Attorney General, in his official         MOTION TO CONSIDER
17   capacity; U.S. Department of Justice; James             SUPPLEMENTAL EVIDENCE AND
     McHenry, Director of the Executive Office for           RESTORE THE NATIONWIDE
18   Immigration Review, in his official capacity; the       SCOPE OF THE INJUNCTION
19   Executive Office for Immigration Review; Kevin
     McAleenan, Acting Secretary of Homeland
20   Security, in his official capacity; U.S. Department
     of Homeland Security; Ken Cuccinelli, Acting
21   Director of the U.S. Citizenship and Immigration
     Services, in his official capacity; U.S. Citizenship
22
     and Immigration Services; John Sanders,
23   Commissioner of U.S. Customs and Border
     Protection, in his official capacity; U.S. Customs
24   and Border Protection; Matthew Albence, Acting
     Director of Immigration and Customs
25   Enforcement, in his official capacity; Immigration
     and Customs Enforcement,
26

27                  Defendants.

28
        Case 4:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 2 of 10




 1   Melissa Crow**                           Baher Azmy**
 2   SOUTHERN POVERTY LAW CENTER              Angelo Guisado**
     1101 17th Street, NW Suite 705           Ghita Schwarz**
 3   Washington, D.C. 20036                   CENTER FOR CONSTITUTIONAL RIGHTS
     T: (202) 355-4471                        666 Broadway, 7th Floor
 4   F: (404) 221-5857                        New York, NY 10012
     melissa.crow@splcenter.org               T: (212) 614-6464
 5                                            F: (212) 614-6499
 6   Mary Bauer**                             bazmy@ccrjustice.org
     SOUTHERN POVERTY LAW CENTER              aguisado@ccrjustice.org
 7   1000 Preston Avenue                      gschwarz@ccrjustice.org
     Charlottesville, VA 22903
 8   T: (470) 606-9307                        Christine P. Sun (SBN 218701)
     F: (404) 221-5857                        Vasudha Talla (SBN 316219)
 9   mary.bauer@splcenter.org                 Angélica Salceda (SBN 296152)
10                                            AMERICAN CIVIL LIBERTIES UNION
                                              FOUNDATION OF NORTHERN
11                                            CALIFORNIA, INC.
                                              39 Drumm Street
12                                            San Francisco, CA 94111
                                              T: (415) 621-2493
13
                                              F: (415) 255-8437
14   Attorneys for Plaintiffs                 csun@aclunc.org
                                              vtalla@aclunc.org
15   *Admitted Pro hac vice                   asalceda@aclunc.org
     **Pro hac vice application forthcoming
16

17

18

19

20

21

22

23

24

25

26

27

28
         Case 4:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 3 of 10




 1                                             INTRODUCTION

 2          This Court issued an order preliminarily enjoining the challenged Interim Final Rule

 3   nationwide on July 24, 2019. See ECF No. 42. The government sought an administrative stay and a

 4   stay pending appeal from the Ninth Circuit. See No. 19-16487 (9th Cir.), Dkt. 3-1. The Ninth

 5   Circuit motions panel denied the government’s request for an administrative stay that same day. See

 6   id., Dkt. 19. On August 16, 2019, the motions panel denied the government’s request for a stay

 7   “insofar as the injunction applies within the Ninth Circuit.” Id., Dkt. 30 (Order) at 3.

 8          The motions panel did not disturb this Court’s conclusions about Plaintiffs’ likelihood of

 9   success on the merits or the equities, and agreed that the government has “not made the required

10   ‘strong showing’ that they are likely to succeed on the merits on [the notice-and-comment] issue.”

11   Id. However, the motions panel limited the scope of the injunction to the Ninth Circuit. Id.

12   Critically, however, the panel recognized that a nationwide injunction of the Rule could well be

13   appropriate. But before it would uphold nationwide relief in this case, the panel required further

14   record evidence and findings by this Court connecting that scope of relief to Plaintiffs’ injuries. Id.

15   at 3-6. Accordingly, the motions panel provided that “[w]hile [the preliminary injunction] appeal

16   proceeds, the district court retains jurisdiction to further develop the record in support of a

17   preliminary injunction extending beyond the Ninth Circuit.” Id. at 8-9.

18          Consistent with that express permission from the Ninth Circuit, Plaintiffs now respectfully

19   request that the Court consider additional evidence in support of a nationwide injunction, and, based

20   on supplemental findings of fact, restore the nationwide scope of the preliminary injunction. 1

21   Absent nationwide relief, the serious and irreparable harm to Plaintiffs caused by the Rule cannot be

22   fully remedied.

23
            1
               Given the panel’s clear acknowledgment that this Court retains jurisdiction to revisit the
24   proper scope of the injunction, there is no jurisdictional bar to this Court restoring the nationwide
     scope of the preliminary injunction based on further factual findings. See Order at 8-9; id. at 9
25   (“Because the record is insufficiently developed as to the question of the national scope of the
26   injunction, we vacate the injunction to the extent that it applies outside California and remand to the
     district court for a more searching inquiry into whether this case justifies the breadth of the
27   injunction imposed.”) (quoting City & County of San Francisco v. Trump, 897 F.3d 1225, 1245 (9th
     Cir. 2018)); see also Fed. R. Civ. Proc. 62(d) (permitting district courts to “modify, restore, or grant
28   an injunction” even while an interlocutory appeal is pending).
                                                       1
                       Memo in Support of Mot. to Supplement the Record and Restore Nationwide Relief
                                                                                    Case No.: 3:19-cv-04073
         Case 4:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 4 of 10




 1                                               ARGUMENT

 2      I.      Nationwide Relief Is Necessary to Remedy Plaintiffs’ Injuries.

 3           As the Ninth Circuit motions panel confirmed, nationwide injunctions will be upheld where

 4   they are “necessary to remedy a plaintiff’s harm.” Order at 4. The declarations accompanying this

 5   motion—which supplement the declarations filed by Plaintiffs in support of their motion for a

 6   temporary restraining order, see ECF No. 3-2, 3-3, 3-4, 3-5—clearly demonstrate that the injunction

 7   in this case must be nationwide “to remedy the specific harm shown” to Plaintiffs. Order at 4

 8   (quoting City and County of San Francisco v. Trump, 897 F.3d 1225, 1243-45 (9th Cir. 2018)).

 9           As set forth below, Plaintiffs have specific reasons why a nationwide injunction is necessary

10   to remedy the harms to their organizations. But one common theme is that asylum seekers

11   frequently do not enter the country and complete their asylum proceedings within the same circuit,

12   and it is not possible to predict asylum seekers’ movements in advance. For instance, an asylum

13   seeker may enter the U.S. through Texas, have a credible fear interview in New Jersey, and

14   ultimately apply for asylum in California. See Alvarez Decl. ¶ 6; Supp. Manning Decl. ¶¶ 12, 16.

15   The Declaration of Aaron Reichlin-Melnick discusses the reasons for and frequency with which this

16   movement occurs. The declarations from each of the four Plaintiffs discuss these scenarios as they

17   relate to the organization’s work.

18           Innovation Law Lab: Law Lab’s operations are not limited to the Ninth Circuit. In addition

19   to its work in the Ninth Circuit, Law Lab has offices in Georgia, Missouri, and Texas; operates pro

20   bono representation projects in Georgia, Kansas, Missouri, and North Carolina, with expansion

21   underway to New Mexico; and provides direct representation to persons applying for asylum outside

22   the Ninth Circuit. See Supp. Manning Decl. ¶¶ 4-5. And six of the seven detention centers at which

23   Law Lab regularly works are outside the Ninth Circuit. Id. ¶ 19. Given Law Lab’s national scope,

24   an injunction limited to the Ninth Circuit would not fully remedy the harm to the organization.

25           First, because Law Lab provides training, materials, and overall legal assistance to other

26   organizations and asylum seekers throughout the country, the harm to Law Lab will not be remedied

27   by an injunction limited to the Ninth Circuit. Among other things, Law Lab currently uses

28   synchronized templates and materials across its program sites. A geographically limited injunction
                                                     2
                    Memo in Support of Mot. to Supplement the Record and Restore Nationwide Relief
                                                                              Case No.: 3:19-cv-04073
         Case 4:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 5 of 10




 1   will force it to abandon this practice, and will require it to meaningfully restructure its operations to

 2   effectively serve persons who are subject to the transit ban as well as persons who are not. Id. ¶¶ 7-

 3   8, 13-14, 20.

 4           Second, the fact that Law Lab directly represents individuals outside the Ninth Circuit means

 5   that an injunction limited to the Ninth Circuit is insufficient. Id. ¶ 15.

 6           Moreover, providing legal guidance and assistance to persons subject to the Rule will be a

 7   significant burden on Law Lab employee time and program operations, as these persons will now

 8   only be eligible for withholding of removal and relief under the Convention Against Torture. Those

 9   forms of relief are more time consuming than asylum to pursue, as they involve higher burdens of

10   proof than asylum and require the development of distinct and more in-depth legal analyses. They

11   also do not permit derivative applications to be filed on behalf of family members. In addition, Law

12   Lab will have to retrain its volunteers on these forms of relief and adjust how it screens individuals

13   for relief. Id. ¶¶ 9, 11.

14           And, importantly, because asylum seekers often move between different locations—and

15   between judicial circuits—during their proceedings, Law Lab’s ability to provide legal assistance

16   workshops will be hindered. Id. ¶¶ 12, 16. For instance, at Law Lab’s workshops in Tijuana for

17   individuals about to seek asylum in the U.S., Law Lab will have to provide guidance about a Rule

18   that might apply at different points throughout their asylum cases, depending on where they

19   ultimately cross the border or where they end up once in the U.S. Indeed, the number of asylum

20   seekers Law Lab serves in Tijuana who end up in detention centers in Louisiana and Mississippi has

21   been significantly increasing. Id. ¶ 12. See also Reichlin-Melnick Decl. (discussing movement of

22   asylum seekers across jurisdictions). 2 As a result, it will now be impossible simply to provide all of

23   these asylum seekers and their legal representatives with one set of guidelines.

24

25           2
              The Reichlin-Melnick declaration analyzes recent statistics from the Department of
     Homeland Security (“DHS”) and Executive Office for Immigration Review demonstrating that
26   asylum seekers frequently move throughout the country during the asylum process, either by their
27   choice or because DHS transfers detained asylum seekers from one detention center to another. This
     data reveals that there is almost no connection between asylum seekers’ place of entry and ultimate
28   destination. Reichlin-Melnick Decl. ¶¶ 5-6, 14-15.
                                                      3
                      Memo in Support of Mot. to Supplement the Record and Restore Nationwide Relief
                                                                                Case No.: 3:19-cv-04073
         Case 4:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 6 of 10




 1          Finally, an injunction limited to the Ninth Circuit not only will frustrate Law Lab’s

 2   operations outside the Ninth Circuit, but will adversely impact its programs within the Ninth Circuit

 3   as well. Because serving individuals affected by the Rule’s categorical ban is so time consuming,

 4   Law Lab will have to direct significant resources towards their representation, which will negatively

 5   affect clients in the Ninth Circuit and may force Law Lab to serve fewer people overall. Supp.

 6   Manning Decl. ¶ 17.

 7          East Bay Sanctuary Covenant (“EBSC”): The harms caused to EBSC by the Rule, see ECF

 8   No. 3-2, will persist if the Rule is allowed to go into effect everywhere other than the Ninth Circuit.

 9   See Supp. Smith Decl. ¶ 4. Part of EBSC’s mission is to serve clients in affirmative asylum cases,

10   regardless of where they entered the United States. Accordingly, EBSC serves clients who enter the

11   United States anywhere in the country, not just the Ninth Circuit. A sizable portion of EBSC’s

12   clients enter the United States outside the Ninth Circuit’s geographic boundaries and then end up in

13   California, where they apply for asylum. More than 22% of EBSC’s affirmative asylum applications

14   filed in 2019 were on behalf of clients who transited through Mexico without applying for protection

15   there and then entered the United States in Texas or New Mexico, i.e., outside the Ninth Circuit. If

16   the organization is unable to serve a sizable portion of its client base in affirmative asylum cases, its

17   mission will be frustrated, and a core part of its operations will be undermined. Id. ¶¶ 5, 7.

18          For the same reason, an injunction limited to the Ninth Circuit also jeopardizes EBSC’s

19   funding streams. Pursuant to a grant from the California Department of Social Services (“CDSS”),

20   EBSC receives $2,000 for every affirmative asylum case it files. If, because of the Rule, EBSC is no

21   longer able to handle affirmative asylum cases for individuals who transit through a third country en

22   route to the southern border and enter outside the Ninth Circuit, the organization likely will face a

23   marked decrease in its budget. Indeed, if the Rule is allowed to remain in effect outside the Ninth

24   Circuit, EBSC estimates that it could lose up to $50,000 under the terms of its CDSS grant during

25   the rest of 2019 and up to $100,000 in 2020. Id. ¶ 8.

26          Because of the strain imposed on EBSC if the Rule remains in effect outside of the Ninth

27   Circuit, EBSC will either have to significantly cut its affirmative asylum program and staff, or

28   overhaul its program to provide types of assistance it is not currently equipped or trained to provide.
                                                      4
                     Memo in Support of Mot. to Supplement the Record and Restore Nationwide Relief
                                                                                  Case No.: 3:19-cv-04073
           Case 4:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 7 of 10




 1   Id. ¶ 9. Notably, EBSC does not currently have sufficient capacity or expertise to handle

 2   applications for humanitarian relief in the removal context. Yet to continue serving clients affected

 3   by the Rule, EBSC will have to shift to representing those individuals in removal cases. Doing so

 4   would be extremely resource intensive for EBSC. Id. ¶ 10. EBSC will also be burdened by having

 5   to provide different services to those subject to the Rule and those not subject to the Rule. Id. ¶¶ 12-

 6   13.

 7           CARECEN: The injuries inflicted on CARECEN by the Rule, see ECF No. 3-5, will persist

 8   if the Rule is not enjoined nationwide, see Alvarez Decl. ¶ 4. CARECEN represents Central

 9   American asylum seekers regardless of where they enter the United States. Nearly all of

10   CARECEN’s current asylum clients entered through the southern border after transiting through a

11   third country without applying for protection there, and at least 60% of those individuals entered

12   outside of the Ninth Circuit. Id. ¶ 5. Thus, the majority of CARECEN’s asylum clients could still be

13   subject to the Rule’s categorical bar on asylum under an injunction limited to the Ninth Circuit. Id.

14   CARECEN would be forced to divert significant resources to serve these clients, as they would only

15   be eligible for far more resource-intensive forms of relief, such as withholding and CAT protection.

16   Id. ¶¶ 8-9. Despite having to devote significantly increased resources to such applications,

17   CARECEN’s main source of funding for its asylum work pays a fixed amount per case. This will

18   significantly strain the organization’s budget. Id. ¶ 9.

19           In addition, CARECEN will have to undertake time consuming screening efforts to

20   determine whether a prospective client is subject to the Rule under a geographically limited

21   injunction. Prospective clients who call CARECEN’s offices for representation frequently do not

22   have paperwork showing where they entered the country or have other geographical information that

23   may be relevant to the applicability of the Rule. Id. ¶ 11. CARECEN staff therefore will have to do

24   additional investigation and screening to determine whether the Rule is likely to apply. Id. It will

25   also have to bifurcate its operations to provide different services to those subject to the Rule and

26   those not subject to it. Id. ¶¶ 10-11.

27           Al Otro Lado: Al Otro Lado will continue to suffer injuries if the Rule is enjoined only in the

28   Ninth Circuit. See ECF No. 3-3; Ramos Decl. ¶¶ 3-4. Of the thousands of noncitizens Al Otro Lado
                                                  5
                     Memo in Support of Mot. to Supplement the Record and Restore Nationwide Relief
                                                                            Case No.: 3:19-cv-04073
            Case 4:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 8 of 10




 1   serves through its offices in Tijuana, Mexico, not all cross the border in the Ninth Circuit. Rather,

 2   some ultimately enter the United States elsewhere, including Texas and New Mexico. Id. ¶ 5. It is

 3   impossible for Al Otro Lado to know with certainty ex ante where a given asylum seeker whom they

 4   serve will ultimately enter the United States. Id. ¶¶ 5-8. 3 As a result, they will now have to provide

 5   burdensome additional guidance to ensure that individuals understand the Rule’s impact in different

 6   parts of the United States. Id. ¶¶ 9-10.

 7                Likewise, Al Otro Lado serves individuals who end up outside the Ninth Circuit for their

 8   asylum proceedings. Al Otro Lado clients who entered the United States along the southern border

 9   in California have ended up in Colorado, Georgia, Maine, Maryland, Michigan, Minnesota, and

10   Wisconsin. Id. ¶ 6. This cross-circuit movement happens because of where the government chooses

11   to detain a given asylum seeker, or because of where a given asylum seeker goes to live after release

12   from detention. Id. See also Reichlin-Melnick Decl. In Al Otro Lado’s experience, this cross-

13   circuit movement is quite common, particularly for unaccompanied minors. Ramos Decl. ¶ 7. As

14   with the uncertainty about ultimate border-crossing locations, it is impossible for Al Otro Lado to

15   know for certain where an individual they advise will end up once they are in the United States. Id.

16   ¶ 8.

17                As a result, if the Rule is only enjoined in certain parts of the country, rather than nationwide,

18   Al Otro Lado will have to advise asylum seekers without knowing whether they will ultimately be

19   subject to the Rule’s categorical asylum bar or not. To fulfill their professional obligations, Al Otro

20   Lado will have to account for all possibilities in giving advice. Having to do so will require Al Otro

21   Lado to expend significant organizational resources regarding training materials, staff time, and

22   capacity, and would create a serious burden for the organization. Id. ¶¶ 9-10.

23          II.       Nationwide Relief Is Appropriate on the Record Here.

24                This Court and the Ninth Circuit concluded that the first asylum ban was likely unlawful and

25   enjoined it nationwide. The Supreme Court did not disturb that conclusion and let stand the

26
                  3
27            Likewise, Law Lab’s declaration makes the same point that the organization does not know
     in advance where asylum seekers it serves in Mexico will enter the U.S. or where they will travel
28   around the country during the asylum process. Supp. Manning Decl. ¶¶ 12, 16.
                                                    6
                    Memo in Support of Mot. to Supplement the Record and Restore Nationwide Relief
                                                                                Case No.: 3:19-cv-04073
         Case 4:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 9 of 10




 1   injunction’s nationwide scope. See Trump v. East Bay Sanctuary Covenant, 139 S.Ct. 782 (2018)

 2   (denying stay). The record of harm to Plaintiffs absent a nationwide injunction, as supplemented, is

 3   even stronger than the record in that case. The Court should therefore reinstate the nationwide

 4   injunction to remedy Plaintiffs’ injuries. Moreover, the public interest calculation—which the stay

 5   panel did not disturb—strongly favors a nationwide injunction given the grave harm individual

 6   migrants will face.

 7                                             CONCLUSION

 8          For the foregoing reasons, Plaintiffs’ motion should be granted.

 9

10    Dated: August 19, 2019                             Respectfully submitted,

11                                                       /s/ Lee Gelernt
      Katrina Eiland (SBN 275701)                        Lee Gelernt*
12    Cody Wofsy (SBN 294179)                            Omar Jadwat*
      Spencer Amdur (SBN 320069)                         Anand Balakrishnan*
13    Julie Veroff (SBN 310161)                          AMERICAN CIVIL LIBERTIES UNION
14    AMERICAN CIVIL LIBERTIES UNION                     FOUNDATION
      FOUNDATION                                         IMMIGRANTS’ RIGHTS PROJECT
15    IMMIGRANTS’ RIGHTS PROJECT                         125 Broad St., 18th Floor
      39 Drumm Street                                    New York, NY 10004
16    San Francisco, CA 94111                            T: (212) 549-2660
      T: (415) 343-1198                                  F: (212) 549-2654
17    F: (415) 395-0950                                  lgelernt@aclu.org
18    keiland@aclu.org                                   ojadwat@aclu.org
      cwofsy@aclu.org                                    abalakrishnan@aclu.org
19    samdur@aclu.org
      jveroff@aclu.org
20                                                       Christine P. Sun (SBN 218701)
      Melissa Crow**                                     Vasudha Talla (SBN 316219)
21
      SOUTHERN POVERTY LAW CENTER                        Angélica Salceda (SBN 296152)
22    1101 17th Street, NW Suite 705                     AMERICAN CIVIL LIBERTIES UNION OF
      Washington, D.C. 20036                             NORTHERN CALIFORNIA, INC.
23    T: (202) 355-4471                                  39 Drumm Street
      F: (404) 221-5857                                  San Francisco, CA 94111
24    melissa.crow@splcenter.org                         T: (415) 621-2493
                                                         F: (415) 255-8437
25
                                                         csun@aclunc.org
26                                                       vtalla@aclunc.org
                                                         asalceda@aclunc.org
27

28
                                                  7
                     Memo in Support of Mot. to Supplement the Record and Restore Nationwide Relief
                                                                           Case No.: 3:19-cv-04073
       Case 4:19-cv-04073-JST Document 57-1 Filed 08/19/19 Page 10 of 10



     Mary Bauer**
 1   SOUTHERN POVERTY LAW CENTER
 2   1000 Preston Avenue                             Baher Azmy**
     Charlottesville, VA 22903                       Angelo Guisado**
 3   T: (470) 606-9307                               Ghita Schwarz**
     F: (404) 221-5857                               CENTER FOR CONSTITUTIONAL RIGHTS
 4   mary.bauer@splcenter.org                        666 Broadway, 7th Floor
                                                     New York, NY 10012
 5                                                   Telephone: (212) 614-6464
 6   Attorneys for Plaintiffs                        Facsimile: (212) 614-6499
                                                     bazmy@ccrjustice.org
 7                                                   aguisado@ccrjustice.org
     *Admitted Pro hac vice                          gschwarz@ccrjustice.org
 8   ** Pro hac vice application forthcoming
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                 8
                    Memo in Support of Mot. to Supplement the Record and Restore Nationwide Relief
                                                                          Case No.: 3:19-cv-04073
